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10                                     UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12                                         SAN FRANCISCO DIVISION

13   UNITED STATES OF AMERICA,                            No. 3:21-mj-70587 MAG

14                 Plaintiff,                             STIPULATION REGARDING REQUEST FOR
                                                          (1) CONTINUANCE OF PRELIMINARY
15                           v.                           HEARING DATE AND (2) FINDINGS OF
                                                          EXCLUDABLE TIME PERIOD
16   MARK DAVID ANDERSON

17                 Defendant.

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19          Plaintiff United States of America, by and through its counsel of record, the United States
20   Attorney for the Northern District of California and Assistant United States Attorney Jared Buszin,
21   and defendant Mark David Anderson (“Defendant”), by and through his counsel of record, Daniel
22   Blank, hereby stipulate as follows:
23          1.         On April 8, 2021, the Honorable Jacqueline Scott Corley, U.S. Magistrate Judge, issued
24   a Criminal Complaint charging Defendant with Armed Bank Robbery, in violation of 18 U.S.C.
25   § 2113(a), (d).
26          2.         On April 12, 2021, Defendant made his initial appearance before the Honorable
27   Jacqueline Scott Corley, U.S. Magistrate Judge, and was arraigned on the Criminal Complaint.
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1            3.     In advance of July 27, 2022, the last calling of this case, the parties requested a

2    continuance to August 23, 2022 in order to further their pre-indictment negotiations after receiving a

3    psychological report concerning Defendant. See Dkt. 46 and Dkt. 47.

4            4.     The parties are still considering the psychological report and are engaged in discussions

5    regarding a potential pre-indictment resolution. The parties are therefore asking for more time to

6    continue those discussions.

7            5.     The parties believe that failure to grant the continuance would deny Defendant and his

8    counsel reasonable time necessary for effective preparation, taking into account the exercise of due

9    diligence. The parties are requesting a new preliminary hearing or arraignment date of September 20,

10   2022.

11           6.     Defense counsel represents that his client understands that he has a right under 18

12   U.S.C. § 3161(b) to be charged by information or indictment with the offense alleged in the pending

13   criminal complaint and that his client knowingly and voluntarily waives that right and agrees to

14   continue to exclude the time to be charged by indictment and agrees to set a status in this matter on

15   September 20, 2022. Defense counsel further represents that his client knowingly and voluntarily

16   waives the timing for preliminary hearing under Federal Rule of Criminal Procedure 5.1 through

17   September 20, 2022.

18           7.     For purposes of computing the date under Rule 5.1 of the Federal Rules of Criminal

19   Procedure for preliminary hearing, and the date under the Speedy Trial Act by which defendants must

20   be charged by indictment or information, the parties agree that the time period of August 23, 2022 to

21   September 20, 2022, inclusive, should be excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A),

22   (h)(7)(B)(i) and (h)(7)(B)(iv) because the delay results from a continuance granted by the Court at

23   Defendant’s request, without government objection, on the basis of the Court’s finding that: (i) the

24   ends of justice served by the continuance outweigh the best interest of the public and Defendant in the

25   filing of an information or indictment within the period specified in 18 U.S.C. § 3161(b); and (ii)

26   failure to grant the continuance would unreasonably deny defense counsel the reasonable time

27   necessary for effective preparation, taking into account the exercise of due diligence.

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1           8.      Nothing in this stipulation shall preclude a finding that other provisions of the Speedy

2    Trial Act dictate that additional time periods be excluded from the period within which an information

3    or indictment must be filed.

4           IT IS SO STIPULATED.

5    DATED: August 18, 2022                                 Respectfully submitted,

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                                                            STEPHANIE M. HINDS
7                                                           United States Attorney
8
                                                              /s/ Jared Buszin
9                                                           JARED S. BUSZIN
                                                            Assistant United States Attorney
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11
     DATED: August 18, 2022
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                                                              /s/ Daniel Blank
13                                                          DANIEL BLANK
                                                            Federal Public Defender
14                                                          Attorney for Defendant

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1                                           [PROPOSED] ORDER

2           The Court has read and considered the Stipulation Regarding Request for (1) Continuance of

3    Preliminary Hearing Date and (2) Findings of Excludable Time Period, filed by the parties in this

4    matter. The Court hereby finds that the Stipulation, which this Court incorporates by reference into

5    this Order, demonstrates facts that support a continuance in this matter, and provides good cause for a

6    finding of excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161, as well as to waive the

7    timing for preliminary hearing under Rule 5.1 of the Federal Rules of Criminal Procedure.

8           The Court further finds that: (i) the ends of justice served by the continuance outweigh the best

9    interest of the public and defendant in the filing of an information or indictment within the time period

10   set forth in 18 U.S.C. § 3161(b); and (ii) failure to grant the continuance would unreasonably deny

11   defense counsel the reasonable time necessary for effective preparation, taking into account the

12   exercise of due diligence.

13   THEREFORE, FOR GOOD CAUSE SHOWN:

14          The hearing for preliminary hearing or arraignment on information or indictment in this matter

15   currently scheduled for August 23, 2022 is continued to September 20, 2022. The time period of

16   August 23, 2022, to September 20, 2022, inclusive, is excluded in computing the time within which an

17   information or indictment must be filed under 18 U.S.C. § 3161(b) pursuant to the provisions of 18

18   U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i), and (B)(iv). Nothing in this Order shall preclude a finding that

19   other provisions of the Speedy Trial Act dictate that additional time periods are excluded from the

20   period within which an information or indictment must be filed.

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23    DATE                                                  HONORABLE SALLIE KIM
                                                            United States Magistrate Judge
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